Case 1:20-cv-20921-AHS Document 1 Entered on FLSD Docket 02/28/2020 Page 1 of 7



                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                                               CASE NO.: 0:20-cv-60446

 FLORIDA FAIR                 HOUSING
 ALLIANCE, INC.,

         Plaintiff,

 v.

 CORAL HAVEN APARTMENTS LLP,

       Defendant.
 _______________________________________/

                            COMPLAINT AND DEMAND FOR JURY TRIAL
                                 INJUNCTIVE RELIEF SOUGHT

         Plaintiff FLORIDA FAIR HOUSING ALLIANCE, INC. (“FFH Alliance”) sues Defendant

 CORAL HAVEN APARTMENTS LLP (“Defendant”) for violating 42 U.S.C. § 3601 et seq., the

 Fair Housing Act.

                                           JURISDICTION AND VENUE

         1.        Jurisdiction of this Court arises under 42 U.S.C. § 3613(a), 28 U.S.C. § 1331, and

 28 U.S.C. § 1337.

         2.        Venue in this District is proper because the subject property is located in this

 district, Plaintiff FFH Alliance resides in this district, Defendant transacts business in this district,

 and the complained conduct of Defendant occurred in this district.

                                                          PARTIES

         3.        Plaintiff FFH Alliance is a fair housing advocacy organization and non-profit

 corporation formed in Florida and headquartered in Miami-Dade, Florida. FFH Alliance offers a

 variety of programs and services designed to advance fair housing in Florida. To advance its

                                                                                                                   PAGE | 1 of 7
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Case 1:20-cv-20921-AHS Document 1 Entered on FLSD Docket 02/28/2020 Page 2 of 7



 mission of ensuring equal access to housing for all, FFH Alliance engages in education and

 outreach; provides counseling to individuals facing discrimination; works with local and federal

 officials to enhance fair housing laws and their enforcement; undertakes investigations to

 uncover unlawful discrimination; and, when necessary, initiates enforcement actions.

         4.         Defendant is a Florida limited liability partnership, with its principal place of

 business located in Miami Lakes, Florida.

                                            DEMAND FOR JURY TRIAL

         5.         Plaintiff FFH Alliance, respectfully, demands a trial by jury on all counts and issues

 so triable.

                                             FACTUAL ALLEGATIONS

         6.         On or about February 18, 2020, the FFH Alliance investigated the “Coral Haven”

 apartment community, located at 10255 SW 24th Street, Miami, Florida 33165, (the “Complex”)

 owned by Defendant for discriminatory housing practices. As part of this investigation, the FFH

 Alliance directed one of its agents/employees, a Hispanic/Latino male with a felony conviction by

 the name of Ryan Turizo (“Mr. Turizo”), to test the Complex for unlawful discriminatory housing

 practices. In this capacity, Mr. Turizo contacted the Complex, posed as a potential rental applicant,

 and inquired into the available rental property Defendant holds open to the public for rent (the

 “Dwelling”).

         7.         As part of Plaintiff FFH Alliance’s investigation into potential discrimination in the

 housing market by Defendant, Mr. Turizo to inquired into Defendant’s policy regarding the

 criminal record of applicants applying to rent the Dwelling, to which Defendant responded by

 stating a felony criminal record would result in an automatic denial of an applicant seeking to rent

 the Dwelling.

                                                                                                                    PAGE | 2 of 7
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         8.         Defendant’s statement clearly indicates that the rental of the Dwelling is subject to

 a blanket prohibition regarding an applicant’s felony criminal history, which is unlawful under the

 Fair Housing Act, as it has a disparate impact on Hispanic/Latino people, and fails to serve a

 substantial, legitimate, nondiscriminatory interest of Defendant.

         9.         The actions and statements of Defendant, inter alai, the policy to automatically

 deny any prospective individual with a felony criminal record, serves to discourage Black and

 Hispanic/Latino individuals with a criminal record from applying, inspecting, and renting the

 Dwelling, and otherwise restrict the choices of these individuals in connection with attempts to

 seek, negotiation for, and ultimately rent the Dwelling.

         10.        The harm inflicted by discriminatory criminal records policies like Defendants’ is

 significant, not only in terms of the sheer number of people affected, but also in terms of the

 consequences for the wellbeing of our communities. In fact, securing safe and affordable housing

 is a particularly crucial need for individuals reentering their communities immediately after time

 in prison.

         11.        Research shows that success in finding adequate housing is critically important to

 allowing reentrants to secure employment, government benefits, and other community ties.

 Housing has been characterized, properly, as the “lynchpin that holds the reintegration process

 together.”1 As another expert put it, “[t]he search for permanent, sustainable housing portends

 success or failure for the entire reintegration process.” 2




 1
  Jeremy Travis, But They All Come Back: Facing Challenges of Prisoner Reentry 219 (2005)
 2
   Barbara H. Zaitzow, We’ve Come a Long Way, Baby...Or Have We? Challenges and
 Opportunities for Incarcerated Women to Overcome Reentry Barriers 233 (in Global Perspectives
 on Re-Entry (2011)).
                                                                                 PAGE | 3 of 7
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Case 1:20-cv-20921-AHS Document 1 Entered on FLSD Docket 02/28/2020 Page 4 of 7



        12.        Critically, the policy of Defendant to automatically deny any prospective individual

 with a felony criminal record perpetuates segregated housing patterns and discourages and/or

 obstructs choices in the applicable community, neighborhood, and/or development. As such, the

 actions of Defendant consuetude efforts to deprive Black and Hispanic/Latino individuals of

 housing opportunities.

        13.        The U.S. Department of Housing and Urban Development (“HUD”) has found

 that “where a policy or practice that restricts access to housing on the basis of criminal background

 has a disparate impact on individuals of a particular race … such policy or practice is unlawful

 under the Fair Housing Act if it is not necessary to serve a substantial, legitimate,

 nondiscriminatory interest of the housing provider.” See HUD, “Office of General Counsel

 Guidance on Application of Fair Housing Act Standards to the Use of Criminal Records by

 Providers of Housing and Real Estate-Related Transactions” (April 4, 2016).

        14.        According to recent data, studies and HUD findings, Hispanic/Latino people are

 arrested, convicted, and imprisoned at vastly disproportionate rates in Florida and the country as a

 whole. As such, Defendant's policy actually and predictably results in a disparate impact to

 Hispanic/Latino people.

        15.        Defendant’s policy regarding the criminal history of applicants seeking to rent,

 utilize, or otherwise occupy the Dwelling is unlawful under the Fair Housing Act, as it has a

 disparate impact on individuals of Hispanic/Latino heritage and/or descent.

        16.        HUD has found that no substantial, legitimate, nondiscriminatory interest can be

 served where “[a] housing provider … imposes a blanket prohibition on any person with any

 conviction record – no matter when the conviction occurred, what the underlying conduct entailed,

 or what the convicted person has done since then.” Id.

                                                                                                                   PAGE | 4 of 7
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Case 1:20-cv-20921-AHS Document 1 Entered on FLSD Docket 02/28/2020 Page 5 of 7



        17.        Defendant’s blanket prohibition regarding an applicant’s felony criminal history is

 unlawful under the Fair Housing Act, as it has a disparate impact on Hispanic/Latino people, and

 fails to serve a substantial, legitimate, nondiscriminatory interest of the housing provider.

        18.        Consistent with Plaintiff FFH Alliance’s fair housing testing efforts, FFH

 Alliance’s has a practice of continuing to monitor and test those entities and individuals found to

 have been engaged in discriminatory housing practices. As such, FFH Alliance’s will continue

 monitoring Defendant, and Defendant’s agents, in order to determine its (Defendant’s) ongoing

 compliance with the Fair Housing Act.

                                             COUNT I.
                                VIOLATION OF THE FAIR HOUSING ACT

        19.        Plaintiff FFH Alliance incorporates by reference paragraphs 1-18 of this Complaint

 as though fully stated herein.

        20.        Defendant is liable to Plaintiff for all injuries caused by the Fair Housing Act

 violations committed by Defendant and the agents of Defendant.

        21.        Defendant authorized its agents to act for it (Defendant) when Defendant’s agents

 committed the Fair Housing Act violations alleged herein. The agents of Defendant accepted the

 undertaking of acting on behalf of Defendant when the they (Defendant’s agents) committed the

 Fair Housing Act violations alleged herein. Defendant had control over its (Defendant’s) agents

 when said agents committed the Fair Housing Act violations alleged herein.

        22.        In light of the aforementioned factual allegations and HUD findings: [1]

 Defendant’s criminal history policy and/or practice is arbitrary, artificial, and unnecessary to

 achieve a valid interest or legitimate objective such as a practical business, profit, policy

 consideration, or requirement of law; [2] there is a robust causal link between the challenged policy

 or practice and a disparate impact on Hispanic/Latino people that shows the specific practice is the
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Case 1:20-cv-20921-AHS Document 1 Entered on FLSD Docket 02/28/2020 Page 6 of 7



 direct cause of the discriminatory effect; [3] the disparity caused by the policy and/or practice is

 significant; and [4] there is a direct link between the disparate impact and Plaintiff’s injury.

         23.        Defendant has violated the Fair Housing Act by, inter alia, making unavailable

 and/or otherwise denying the Dwelling to individuals on the basis of race and/or criminal record.

         24.        A discriminatory purpose, and not any legitimate reason, was a motivating factor

 behind Defendant’s policy regarding the criminal history of applicants seeking to rent, utilize, or

 otherwise occupy the Dwelling.

         25.        As a result of Defendant’s discriminatory conduct - committed despite being

 engaged in the business of real estate, coupled with Plaintiff’s ongoing monitoring efforts -

 Plaintiff has suffered, is continuing to suffer, and will in the future suffer irreparable loss and injury

 and a real and immediate threat of future discrimination by Defendant.

         26.        Defendant’s unlawful conduct and actions constitute discrimination and

 proximately caused Plaintiff’s damages as described above.

         27.        In engaging in this unlawful conduct described above, Defendant acted recklessly

 or intentionally. This is evidenced, in part, by the fact that Defendant is engaged in the real estate

 business and are licensed real estate professionals, who have been educated, trained, and tested in

 fair housing laws, nonetheless chose to engage in unlawful discrimination.

         28.        Plaintiff has been treated in a discriminatory fashion by Defendant and has suffered

 an injury in precisely the form the Fair Housing Act was intended to guard against, thus, Plaintiff

 FFH Alliance has standing to maintain this action against Defendant under the Fair Housing Act’s

 provisions.

         29.        Accordingly, Plaintiff FFH Alliance is aggrieved by the discrimination actions of

 Defendant in violation the Fair Housing Act.

                                                                                                                    PAGE | 6 of 7
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       30.        WHEREFORE, Plaintiff FFH Alliance, respectfully, requests that this Court:

                  (a)        Declare the above-mentioned actions, omissions, polices, and procedures,
                             of Defendant to be in violation of the Fair Housing Act;

                  (b)        Award compensatory damages to Plaintiff against Defendant;

                  (c)        Award punitive damages to Plaintiff in an amount to be determined by the
                             jury that would punish Defendants for the willful, malicious, and reckless
                             conduct alleged herein and that would effectively deter similar conduct in
                             the future;

                  (d)        Enter a permanent injunction enjoining Defendant from discriminating
                             against individuals on the basis of race and/or criminal history;

                  (e)        Enter a permanent injunction compelling Defendant to amend its
                             (Defendant’s) polices, procedures, and practices, that discriminate against
                             individuals on the basis of race and/or criminal history;

                  (f)        Award Plaintiff costs and reasonable attorneys’ fees; and

                  (g)        Any other relief that this Court deems appropriate and just under the
                             circumstances.
       DATED: February 28, 2020
                                                                 Respectfully Submitted,

                                                                  /s/ Jibrael S. Hindi                                   .
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                                                                                                                  PAGE | 7 of 7
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